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9                        UNITED STATES DISTRICT COURT
10                     CENTRAL DISTRICT OF CALIFORNIA
11                                Western Division
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13   SECURITIES AND EXCHANGE                 Case No. 2:18-cv-05008-FMO-AFM
     COMMISSION,
14                                           [PROPOSED] ORDER REGARDING
                 Plaintiff,                  PRELIMINARY INJUNCTION AND
15                                           APPOINTMENT OF A PERMANENT
           vs.                               RECEIVER
16   RALPH T. IANNELLI and ESSEX
17   CAPITAL CORPORATION,

18               Defendants.

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1          The Court, having considered the forty-five day report prepared and submitted
2    by the court appointed monitor, Geoff Winkler, on December 5, 2018, any response
3    thereto, and the consent of Plaintiff the Securities and Exchange Commission,
4    Defendant Essex Capital Corporation (“Essex”), and Defendant Ralph T. Iannelli to
5    the entry of this proposed order, hereby finds that:
6          A.     This Court has jurisdiction over the parties to, and the subject matter of,
7                 this action; and
8          B.     Good cause exists to warrant the appointment of Geoff Winkler as a
9                 Receiver over Defendant Essex and its subsidiaries and affiliates.
10                                               I.
11         IT IS HEREBY ORDERED that Defendants Essex and Iannelli (collectively,
12   “Defendants”), and their officers, agents, servants, employees, attorneys, subsidiaries
13   and affiliates, and those persons in active concert or participation with any of them,
14   who receive actual notice of this Order, by personal service or otherwise, and each of
15   them, shall remain preliminarily restrained and enjoined from, directly or indirectly,
16   in the offer or sale of any securities, by the use of any means or instruments of
17   transportation or communication in interstate commerce or by the use of the mails:
18         A.     employing any device, scheme or artifice to defraud;
19         B.     obtaining money or property by means of any untrue statement of a
20                material fact or any omission to state a material fact necessary in order to
21                make the statements made, in light of the circumstances under which
22                they were made, not misleading; or
23         C.     engaging in any transaction, practice, or course of business which
24                operates or would operate as a fraud or deceit upon the purchaser;
25                in violation of Section 17(a) of the Securities Act, 15 U.S.C. § 77q(a).
26                                              II.
27         IT IS FURTHER ORDERED that Defendants Essex and Iannelli, and their
28   officers, agents, servants, employees, attorneys, subsidiaries and affiliates, and those

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1    persons in active concert or participation with any of them, who receive actual notice
2    of this Order, by personal service or otherwise, and each of them, shall remain
3    preliminarily restrained and enjoined from, directly or indirectly, in connection with
4    the purchase or sale of any security, by the use of any means or instrumentality of
5    interstate commerce, or of the mails, or of any facility of any national securities
6    exchange:
7          A.      employing any device, scheme or artifice to defraud;
8          B.      making any untrue statement of a material fact or omitting to state a
9                  material fact necessary in order to make the statements made, in the light
10                 of the circumstances under which they were made, not misleading; or
11         C.      engaging in any act, practice, or course of business which operates or
12                 would operate as a fraud or deceit upon any person;
13                 in violation of Section 10(b) of the Exchange Act, 15 U.S.C. § 78j(b),
14                 and Rule 10b-5 thereunder, 17 C.F.R. § 240.10b-5.
15                                               III.
16         IT IS FURTHER ORDERED that, except as otherwise ordered by this Court,
17   Defendants Essex and Iannelli, and their officers, agents, servants, employees,
18   attorneys, subsidiaries and affiliate, and those persons in active concert with them,
19   who receive actual notice of this Order, by personal service or otherwise, and each of
20   them, shall remain preliminarily restrained and enjoined from:
21              A. directly or indirectly, transferring, assigning, selling, hypothecating,
22                 changing, wasting, dissipating, converting, concealing, encumbering, or
23                 otherwise disposing of, in any manner, any funds, assets, securities,
24                 claims or other real or personal property, including any notes or deeds of
25                 trust or other interest in real property, wherever located, of any one of
26                 the Defendants or their subsidiaries or affiliates, owned by, controlled
27                 by, managed by or in the possession or custody of any of them; or
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1             B. from transferring, encumbering dissipating, incurring charges or cash
2                 advances on any debit or credit card of the credit arrangement of
3                 Defendant Essex, or their subsidiaries and affiliates.
4                                               IV.
5          IT IS FURTHER ORDERED that Paragraphs III and 0 shall not apply to the
6    following transactions:
7             A. any compensation or funds received by Defendant Iannelli after
8                 November 30, 2018, so long as it is in no way related to Essex Capital
9                 and its affiliates, or Defendant Iannelli’s association or prior control of
10                Essex Capital and its affiliates;
11            B. social security payments to Defendant Iannelli; and
12            C. subject to the Receiver’s approval to lift the freeze on such deposits, any
13                deposits, withdrawals, or payments from the following accounts at
14                Montecito Bank & Trust (“MBT”) and Merrill Lynch (“ML”):
15                   i. Ralph T. Iannelli and Melissa R. Iannelli, MBT Acct. No.
16                      xxxxx3331;
17                   ii. Ralph Iannelli Jr. Family Irrevocable Trust, MBT Acct. No.
18                      xxxxx8912;
19                  iii. Ralph Iannelli Family Irrevocable Trust, MBT Acct. No.
20                      xxxxx8920;
21                  iv. Iannelli Family Irrevocable Trust, MBT Acct. No. xxxxx8939;
22                   v. Melissa R. Iannelli, ML Acct. No. xxxxx4225;
23                      or
24                  vi. Melissa R. Iannelli, ML Acct. No. xxxxx8702.
25                                              V.
26         IT IS FURTHER ORDERED that, except as provided in Paragraph IV of this
27   Order or otherwise ordered by this Court, an immediate freeze shall be placed on all
28   monies and assets in all accounts at any bank, financial institution or brokerage firm,

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1    or third-payment payment processor, all certificates of deposit, and other funds or
2    assets, held in the name of, for the benefit of, or over which account authority is held
3    by Defendants Essex and Iannelli, including but not limited to the accounts listed
4    below:
5             BANK NAME                   ACCOUNT NAME                     ACCOUNT NO.
6      E Trade                   Ralph T. Iannelli & Melissa R.         xxxxx9733
7                                Iannelli
       E Trade                   Ralph Thomas Iannelli                  xxxxx4415
8      First Republic Bank       White Bay Essex Leasing                xxxxx1137
9      First Republic Bank       Cornerstone Essex Leasing Co.          xxxxx1270
                                 LLC
10
       First Republic Bank       Essex-Granger LLC                      xxxxx1348
11     First Republic Bank       1486 East Valley Rd LLC                xxxxx2611
       First Republic Bank       Ralph T. Iannelli & Melissa R.         xxxxx3593
12
                                 Iannelli
13     First Republic Bank       Essex-Granger II LLC                   xxxxx7009
14     First Republic Bank       Cornerstone Essex Leasing Co.          xxxxx8565
                                 II LLC
15     First Republic Bank       Essex Capital Corporation              xxxxx8847
16     First Republic Bank       Ralph T. Iannelli                      xxxxx9049
       First Republic Bank       SIU Capital LLC                        xxxxx9339
17     First Republic Securities Essex Capital Corporation              xxxxx3863
18     Company, LLC
       First Republic Securities Ram Capital Corporation                xxxxx6689
19     Company, LLC
20     Interactive Brokers       Ralph T. Iannelli & Melissa R.         xxxxx8388
                                 Iannelli
21     Jefferies LLC             Essex Capital Corporation              xxxxx2718
22     Jefferies LLC             Essex Capital Corporation              xxxxx4748
       Merrill Lynch             Essex Capital Corporation              xxxxx2764
23
       Merrill Lynch             BYSE LLC c/o Ralph Iannelli            xxxxx3521
24     Merrill Lynch             SIU Capital LLC                        xxxxx3593
25     Merrill Lynch             KP Investment Partners                 xxxxx3594
       Merrill Lynch             KF Leasing Partners LP                 xxxxx3665
26     Merrill Lynch             Ralph T. Iannelli                      xxxxx4222
27     Merrill Lynch             Ralph T. Iannelli & Melissa R.         xxxxx4223
                                 Iannelli
28     Merrill Lynch             Ralph T. Iannelli                      xxxxx4224

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1          BANK NAME                     ACCOUNT NAME                    ACCOUNT NO.
2      Merrill Lynch               Melissa R. Iannelli                 xxxxx4225
3      Merrill Lynch               Ralph T. Iannelli and Melissa R.    xxxxx4228
                                   Iannelli
4      Merrill Lynch               Melissa R. Iannelli                 xxxxx8702
5      Montecito Bank & Trust      KF Investment Partners LP           xxxxx1816
       Montecito Bank & Trust      Essex Capital Corporation           xxxxx3839
6      Montecito Bank & Trust      Western Animal Supply LLC           xxxxx3959
7      Montecito Bank & Trust      Essex Ocean LLC                     xxxxx6982
       Montecito Bank & Trust      Essex Ocean LLC                     xxxxx6990
8      Montecito Bank & Trust      Essex-Granger LLC                   xxxxx7276
9      Montecito Bank & Trust      Essex-Granger II LLC                xxxxx7283
       Montecito Bank & Trust      Essex Capital Corporation           xxxxx7311
10
       Montecito Bank & Trust      915 Elm Avenue CVL LLC              xxxxx8411
11     Montecito Bank & Trust      Ralph Iannelli Jr. Family           xxxxx8912
                                   Irrevocable Trust
12
       Montecito Bank & Trust      Ralph Iannelli Family                xxxxx8920
13                                 Irrevocable Trust
14     Montecito Bank & Trust      Iannelli Family Irrevocable Trust   xxxxx8939
       UBS                         Essex Capital Corporation           xxxxx70JM
15     Montecito Bank & Trust      KF Leasing Partners LP              xxxxx8947
16
17         Any bank, financial institution or brokerage firm, or third-party payment

18   processor holding such monies and assets described above shall hold and retain

19   within their control and prohibit the withdrawal, removal, transfer or other disposal of

20   any such funds or other assets except as otherwise ordered by this Court.

21                                             VI.

22         IT IS FURTHER ORDERED that, except as otherwise ordered by this Court,

23   an immediate freeze shall be placed on the title of the following properties, which

24   shall not be mortgaged, transferred, or otherwise hypothecated:

25         LISTED OWNER                                     ADDRESS

26          Ralph T. Iannelli       266 Penny Lane, Santa Barbara, CA 93108
27          Ralph T. Iannelli       257 Central Park West, Apt. 4C, New York, NY 10024
28          Ralph T. Iannelli       915 Elm Avenue, Carpinteria, CA 93013

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1                                              VII.
2          IT IS FURTHER ORDERED that, within ten days from the date of this Order,
3    Defendants, any bank, financial institution or brokerage firm, and each of them, shall
4    transfer to the Receiver assets, funds and other property held in foreign locations in
5    the name of any Defendant, or for the benefit or under the direct or indirect control of
6    any of them, or over which any of them exercises control or signatory authority.
7                                              VIII.
8          IT IS FURTHER ORDERED that Defendants, within five days of the issuance
9    of this Order, shall, to the extent it has no previously been provided, prepare and
10   deliver to the SEC a detailed and complete schedule of all of their personal assets,
11   including all real and personal property exceeding $10,000 in value, and all bank,
12   securities, and other accounts identified by institution, branch address and account
13   number. The accounting shall include a description of the sources of all such assets.
14   Such accounting shall be delivered to the SEC to the attention of Gary Leung and
15   Doug Miller, counsel for the SEC. After completion of the accounting, each of the
16   Defendants shall produce to the SEC at a time agreeable to the SEC, all books,
17   records and other documents supporting or underlying their accounting.
18                                              IX.
19         IT IS FURTHER ORDERED that any person who receives actual notice of this
20   Order by personal service or otherwise, and who holds, possesses or controls assets
21   exceeding $5,000 for the account or benefit of any one of the Defendants, shall within
22   5 days of receiving actual notice of this Order provide counsel for the SEC with a
23   written statement identifying all such assets, the value of such assets, or best
24   approximation thereof, and any account numbers or account names in which the
25   assets are held.
26                                              X.
27         IT IS FURTHER ORDERED that, except as otherwise ordered by this Court,
28   each of the Defendants Essex and Iannelli, and their officers, agents, servants,

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1    employees, attorneys, subsidiaries and affiliates, and those persons in active concert
2    or participation with any of them, who receive actual notice of this Order, by personal
3    service or otherwise, and each of them, shall remain preliminarily restrained and
4    enjoined from, directly or indirectly: destroying, mutilating, concealing, transferring,
5    altering, or otherwise disposing of, in any manner, any documents, which includes all
6    books, records, computer programs, computer files, computer printouts, contracts,
7    emails, correspondence, memoranda, brochures, or any other documents of any kind
8    in their possession, custody or control, however created, produced, or stored
9    (manually, mechanically, electronically, or otherwise), pertaining in any manner to
10   Defendant Essex.
11                                               XI.
12         IT IS FURTHER ORDERED that Geoff Winkler is appointed as Receiver of
13   Defendant Essex and its subsidiaries and affiliates, with full powers of an equity
14   receiver, including, but not limited to, full power over all funds, assets, collateral,
15   premises (whether owned, leased, occupied, or otherwise controlled), choses in
16   action, books, records, papers and other property belonging to, being managed by or
17   in the possession of or control of Defendant Essex and its subsidiaries and affiliates,
18   and that such Receiver is immediately authorized, empowered and directed:
19         A.     to have access to and to collect and take custody, control, possession,
20                and charge of all funds, assets, collateral, premises (whether owned,
21                leased, pledged as collateral, occupied, or otherwise controlled), choses
22                in action, books, records, papers and other real or personal property,
23                wherever located, of or managed by Defendant Essex and its subsidiaries
24                and affiliates (collectively, the “Assets”), with full power to sue,
25                foreclose, marshal, collect, receive, and take into possession all such
26                Assets (including access to and taking custody, control, and possession
27                of all such Assets);
28         B.     to assume full control of Defendant Essex by removing, as the Receiver

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1              deems necessary or advisable, any director, officer, attorney,
2              independent contractor, employee, or agent of any of Defendant Essex
3              and its subsidiaries and affiliates, including any named Defendant, from
4              control of, management of, or participation in, the affairs of Defendant
5              Essex;
6        C.    to have control of, and to be added as the sole authorized signatory for,
7              all accounts of the entities in receivership, including all accounts at any
8              bank, title company, escrow agent, financial institution or brokerage firm
9              (including any futures commission merchant) which has possession,
10             custody or control of any Assets, or which maintains accounts over
11             which Defendant Essex, and its subsidiaries and affiliates, and/or any of
12             its employees or agents have signatory authority;
13       D.    to conduct such investigation and discovery as may be necessary to
14             locate and account for all of the assets of or managed by Defendant
15             Essex and its subsidiaries and affiliates, and to engage and employ
16             attorneys, accountants and other persons to assist in such investigation
17             and discovery;
18       E.    to take such action as is necessary and appropriate to preserve and take
19             control of and to prevent the dissipation, concealment, or disposition of
20             any Assets;
21       F.    to choose, engage, and employ attorneys, accountants, appraisers, and
22             other independent contractors and technical specialists, as the Receiver
23             deems advisable or necessary in the performance of duties and
24             responsibilities under the authority granted by this Order;
25       G.    to make an accounting, as soon as practicable, to this Court and the SEC
26             of the assets and financial condition of Defendant Essex and to file the
27             accounting with the Court and deliver copies thereof to all parties;
28       H.    to make such payments and disbursements from the Assets taken into

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1                 custody, control, and possession or thereafter received by him or her,
2                 and to incur, or authorize the making of, such agreements as may be
3                 necessary and advisable in discharging his or her duties as Receiver;
4          I.     to investigate and, where appropriate, to institute, pursue, and prosecute
5                 all claims and causes of action of whatever kind and nature that may
6                 now or hereafter exist as a result of the activities of present or past
7                 employees or agents of Defendant Essex, and its subsidiaries and
8                 affiliates;
9          J.     to institute, compromise, adjust, appear in, intervene in, or become party
10                to such actions or proceedings in state, federal, or foreign courts, which
11                (i) the Receiver deems necessary and advisable to preserve or recover
12                any Assets, or (ii) the Receiver deems necessary and advisable to carry
13                out the Receiver’s mandate under this Order; and
14         K.     to have access to and monitor all mail, electronic mail, and video phone
15                of the entities in receivership in order to review such mail, electronic
16                mail, and video phone which he or she deems relates to their business
17                and the discharging of his or her duties as Receiver. The Receiver shall
18                be authorized to review any communications between Defendant Essex
19                and its counsel in this action. Should a dispute arise over the Receiver’s
20                authority to review or disclose any of Defendants’ communications with
21                counsel, the Receiver or the parties may petition the Court after making
22                good faith efforts to resolve the dispute.
23                                               XII.
24         IT IS FURTHER ORDERED that Defendant Essex and its subsidiaries and
25   affiliates, including all of the other entities in receivership, and their officers, agents,
26   servants, employees and attorneys, and any other persons who are in custody,
27   possession or control of any assets, collateral, books, records, papers or other
28   property of or managed by any of the entities in receivership, shall forthwith give

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1    access to and control of such property to the Receiver.
2                                              XIII.
3           IT IS FURTHER ORDERED that no officer, agent, servant, employee or
4    attorney of Defendant Essex shall take any action or purport to take any action, in the
5    name of or on behalf of Defendant Essex without the written consent of the Receiver
6    or order of this Court.
7                                              XIV.
8           IT IS FURTHER ORDERED that, except by leave of this Court, during the
9    pendency of this receivership, all clients, investors, trust beneficiaries, note holders,
10   creditors, claimants, lessors and all other persons or entities seeking relief of any
11   kind, in law or in equity, from Defendant Iannelli, Defendant Essex, or its
12   subsidiaries or affiliates, and all persons acting on behalf of any such investor, trust
13   beneficiary, note holder, creditor, claimant, lessor, consultant group or other person,
14   including sheriffs, marshals, servants, agents, employees and attorneys, are hereby
15   restrained and enjoined from, directly or indirectly, with respect to these persons and
16   entities:
17          A.    commencing, prosecuting, continuing or enforcing any suit or
18                proceeding (other than the present action by the SEC or any other action
19                by the government) against any of them;
20          B.    using self-help or executing or issuing or causing the execution or
21                issuance of any court attachment, subpoena, replevin, execution or other
22                process for the purpose of impounding or taking possession of or
23                interfering with or creating or enforcing a lien upon any property or
24                property interests owned by or in the possession of Defendant Iannelli or
25                Defendant Essex; and
26          C.    doing any act or thing whatsoever to interfere with taking control,
27                possession or management by the Receiver appointed hereunder of the
28                property and assets owned, controlled or managed by or in the

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1                 possession of Defendant Iannelli or Defendant Essex, or in any way to
2                 interfere with or harass the Receiver or his or her attorneys, accountants,
3                 employees, or agents or to interfere in any manner with the discharge of
4                 the Receiver’s duties and responsibilities hereunder.
5                                               XV.
6          IT IS FURTHER ORDERED that Defendant Essex, and its subsidiaries,
7    affiliates, officers, agents, servants, employees and attorneys, shall cooperate with
8    and assist the Receiver and shall take no action, directly or indirectly, to hinder,
9    obstruct, or otherwise interfere with the Receiver or his or her attorneys, accountants,
10   employees or agents, in the conduct of the Receiver’s duties or to interfere in any
11   manner, directly or indirectly, with the custody, possession, management, or control
12   by the Receiver of the funds, assets, collateral, premises, and choses in action
13   described above.
14                                             XVI.
15         IT IS FURTHER ORDERED that Defendant Essex, and its subsidiaries and
16   affiliates, shall pay the costs, fees and expenses of the Receiver incurred in
17   connection with the performance of his or her duties described in this Order,
18   including the costs and expenses of those persons who may be engaged or employed
19   by the Receiver to assist him or her in carrying out his or her duties and obligations.
20   All applications for costs, fees, and expenses for services rendered in connection with
21   the receivership other than routine and necessary business expenses in conducting the
22   receivership, such as salaries, rent, and any and all other reasonable operating
23   expenses, shall be made by application setting forth in reasonable detail the nature of
24   the services and shall be heard by the Court.
25                                             XVII.
26         IT IS FURTHER ORDERED that no bond shall be required in connection with
27   the appointment of the Receiver. Except for an act of gross negligence, the Receiver
28   shall not be liable for any loss or damage incurred by any of the defendants, their

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1    officers, agents, servants, employees and attorneys or any other person, by reason of
2    any act performed or omitted to be performed by the Receiver in connection with the
3    discharge of his or her duties and responsibilities.
4                                             XVIII.
5          IT IS FURTHER ORDERED that representatives of the SEC is authorized to
6    have continuing access to inspect or copy any or all of the corporate books and
7    records and other documents of Defendant Essex, and the other entities in
8    receivership, and continuing access to inspect their funds, property, assets and
9    collateral, wherever located.
10                                             XIX.
11         IT IS FURTHER ORDERED that this Court shall retain jurisdiction over this
12   action for the purpose of implementing and carrying out the terms of all orders and
13   decrees which may be entered herein and to entertain any suitable application or
14   motion for additional relief within the jurisdiction of this Court.
15
16         The Receiver is reminded that he is “an officer of the court and not an arm of
17   the SEC[,]” S.E.C. v. Schooler, 2015 WL 1510949, *3 (S.D. Cal. 2015) (internal
18   quotation marks omitted), and has been “appointed on behalf and for the benefit of all
19   the parties having an interest in the property, not for the plaintiff or defendant[s]
20   alone.” S.E.C. v. Private Equity Management Group, Inc., 2009 WL 2019747, *2
21   (C.D. Cal. 2009) (internal quotation marks omitted).
22
23   IT IS SO ORDERED.
24   Dated: December 21, 2018                ____        /s/ ____________________________
25                                                  HON. FERNANDO M. OLGUIN
26                                                  Judge of the District Court
27
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